                                      Case 5:19-cv-01631-EGS Document 1-1 Filed 04/15/19 Page 1 of 3
    JS 44 (Re, Oo,17)
                                     £G3                                                                                                              6: !Cf-c.V-1& 3/
    The JS 44 CJVII cover sheet and the mfor111at1on contamed herein neither re_place nor supplement the ti!mg and service of pleadings or other papers as required by Jaw, except                                           as
    provided by local rules of court llus form, approved by the Jud1c1al Conference of the United States m September 1974, 1s reqwred for the use of the Clerk of Court for the
    purpose of m1t1atmg the Civil docket sheet fSEF INSTRUCTIONS ON NEXT PAGE OF THIS }OR/\1)

    I. (a) PLAINTIFFS                                                                                                  DEFENDANTS
    Martin       W     Nothstein                                                                                     USA Cycling


          (b)   County of Residence of First Lsted Plaintiff
                                       (EXCtPT IN US Pl.A/NT/ff CASES)
                                                                                                                       NOH


          (<) A<rornoy, H,=        •=: '""'" ,., ,_, , .,. ,. , , ,                         ~\                        Attorneys ({/Known)

                                                                                           ~
                                                                                                                     Alexander Nem1roff              &   Sara Anderson Frey, Gordon Rees Scully
    George Bochetto            &     David Heim. Bochetto       & Lentz. P C                                         Manshukhan1. LLR
    1524        Locust Street. Ph1ladleph1a. PA             19102. (215) 735-3900                                    1717 Arch       Stree, Ste           610.        Ph1ladleph1a. PA        19103. (215) 561-2300
    [I,    BASIS OF JVRISDICTIO'.\f (Pta,·ean                    X tnOneBoxOnly)                       Ill. CITIZENSHIP 0                                 CJPAL          PARTIES/Ptacean ·x ,nOneBox/orP/atn11jf
                                                                                                                  (Far Diversity Cases                                                     and One Box for Defendant)
    0 I     {; .S Government                 0 3 Federal Questton                                                                                         DEF                                             PTF
                 Plaintiff                         fl; S (,ovemment Not a     Party)                         Citizen of This State                        ::J     I    Incorporated or Pnncipal Place
                                                                                                                                                                         of Business In This State

    0 2     V S Government                         D1vers1ty                                                 C11tzen of Another State         0 2         ::J     2    Incorporated and Prmcipal Place
               Defendant                             (lndtcate ( mzenshtp of Parnes m Item Iii)                                                                           of Business In Another State

                                                                                                                                              ::J 3       0       l    foreign Natrnn


    JV NATt:RE, OF SUIT (Place an                     X   m One Box Only)                                                                                  Click here for Nature of Suit Code Descrmt1on~
I               'CONTRA                                               TORTS'              -                    FORFEITURE/PENALTY                        , BANKRUYICY                             OTHER S'.fl.TUTES
                                                                                                                                                                                                                                  "
n   I IO   Insurance                          PERSONAL INJURY                PERSONAL INJl,RY               ::J 62 5 Dn1g Related Seizure            ::J 422 Appeal 28 L'SC 158           ::J l 75 False Claims Act
n   120    Manne                       0      310 Airplane                ::J 365 Personal Injury ,                 of Property 21 USC' 88 J         ::1 423 WJthdrawal                   0 l76 Qui Tam (ll :.,5('
::J I 30   Miller Act                  0      l 15 Airplane Product               Product Liabihty          ::J 690 Other                                       28 vSC' I 57                       l 729(a)l
0 J 40     Negotiable Instrument                    L,abihty              0 367 Health Care/                                                                                             ::J 400 State Reapportionment
::1 150    Recovery of O,erpayment ::J        320 Assault, Libel &              Phannaceutical                                                         PROPERTY RIGHTS                   ::J 410 An II trust
           & E.nforcement of Judgment               Slander                     Personal lnJury                                                      0 820 Copynghts                     n 4 30 Banks and Bru . k,ng
n     151 Medicare A<t                 0      BO federal f.mployers             Product Liability                                                ::J 8JO Patent                          0 450 Commerce
0     152 Recovery of Defaulted                     Liab1hty              0 368 Asbestos Personal                                                ::J 8 35 Patent , AbbreHated            ::J 460 Deportation
           Student Loans               ::J    340 Manne                          lnJUry Product                                                           New Drug Apphcatton            ::J 4 70 Racketeer Inf! uenced and
           (F.xdudes Veterans)        I::i    l4 5 Manne Prodt1U                 Liabihty                                                        n 840 , rademark                                 Corrupt Organizallons
::J   15 3 Recovery of Overpayment                  I. iab1hty              PERSONAL PROPERTY                   LABOR                                  SOCIAL SE            RITv.,       0 480 Consumer Credit
          of Veteran s Benefits        n      350 Motor Vehicle          ::1 370 Other Fraud     ::J 7 J O f w Labor Standards                   ::J 86 l HI A ( I l95ft)                0 490 Cable/Sat TV
0     160 Stockholders Suits           ::J    l55 Motor Velucle          0 3 7 J Truth m Lending           Ac.t                                  ::J 862 Black lung (923 J               0 850 Secunlles,C'ommod!ties/
::J   190 Other Contract            /              Product L iabihty     0 380 Other Personal    ::J 720 Labor•'Management                       0 863 DIWC','DIWW (405(g))                       Lxchange
                                         I
                                       il!
::J
0
      195 C' ontract Product L1ab1h
      196 Franchise                       p   360 Other Personal
                                                   Injury
                                              362 Personal inJUty -
                                                                                 Property Damage
                                                                         ::1 385 Property Damage
                                                                                 Product Liabtl1ty
                                                                                                                      Relations
                                                                                                            ::J 740 Railway Labor Act
                                                                                                            ::J 7 51 f anuly and Medical
                                                                                                                                                 0 864 SS!D Title XVI
                                                                                                                                                 0 865 RSI (405(g))
                                                                                                                                                                                         ::J 890 Other Staratory Ac,t,ons
                                                                                                                                                                                         ::1 891 Agncul tural Acts
                                                                                                                                                                                         0 893 En,1ronmental Matters
                                                   Medical MaJoracttce                                                Leave Act                                                          0 895 Freedom of lnfonna11on
I                                                                                                                                                ,
    ' 'REAL PROPERTY                           CIVIL RIGHTS               PRISONERPETmONS                   :::J 790 Other Labor Lttigation              FEDERAL TAX SUITS                        Act
 0 210 Land C'ondernnatton                ::J 440 Other C'"i: Rights       Habeas Corpus:                   ::J 79 I F.mpl oyee Retirement       n   870 Taxes({; S Plaintiff            ::J 896 Arb,tratJon
 0 220 Foreclosure                        0 441 Vor,ng                 ::J 46 3 Ahen Detamee                         Income Secunty Act                  or Defendant)                   0 899 Ad!Illmstrative Procedure
 0 2 30 Rent Lease & LJectment            0 442 f.mployment            ::1 510 Mo!Jons to Vacate                                                 ::J 871 IRS -Thrrd Part),                        Act/Re'Jew or Appeal of
::J 240 Torts to Land                     ::J 44 3 Housing/                    Sentence                                                                   26 l,SC 7609                            Agency Decision
::J 245 Tort Product Liability                     Accommodatrons      0 5 lO General                                                                                                    ::1 950 C'onst1tu!IOnahty of
8 290 All Ot'1er Real Property            0 44 5 Amer w•'Disabihties , ::1 5 35 Death Penalty                       JMMIG~TION                                                                   State Statutes
                                                   Lmployment              Other:                           ::J 462 Nat,irahzal!on Apphcatton
                                          n 446 Amer w,'D1sab1ht1es . ::J 540 Mandamus & Other              0 465 Other lmmigratron
                                                   Other               ::1 550 Civtl Rights                         Acttons
                                          8 448 F.d11ca11on            0 555 Pnson Conditton
                                                                       0 560 CIVIi Detamee ·
                                                                               C'ondillons of
                                                                               Confinement

V. ORIGIN                (Plac,'a~ 'X tnOneRoxOnly1
[11         Ongmal             ,i:    Removed from             :::J 3    Remanded from               04     Reinstated or       0 5     Tran 5ferred from              06      Mult1d1stnct         0 8 Mult1distr1ct
            Proceed mg                State Court                        Appellate Court                    Reopened                    Another D1stnct                        L1t1gat1on -                   L11Igat1on -
                                                                                                                                        (specify)                              Transfer                       D"ect File
                               V               Cite the C S C1v1J Statute under which you            are fihng (Do not cite jurisdictional statutes unless diversity)
                                               28 USC Sections 1332 1441
VI. CAt:SE OF ACTION                           Bnef description of cause                                                                                                                           r\
                                               Plaintiff alleaes Defamation, Invasion of Pnvacv False L1qht, and Invasion of Privacy - Intrusion                                                        ion Seclusion
VII. REQt:ESTED I~    ::J                           CHECK lF THIS 15 A CLASS ACTION                            DEMAND$                                            CHECK YES only if detande(             in   complaint
     COMPLAINT:                                     L'NDFR RC Lb 2 3, FR Cv P                                                                                     Jt;RY DE\fA/IID:             ~ Ye             [)No

VIII. RELATED CASE(S)
                IF ANY                            (See mstructtons1
                                                                             ''
                                                                         JUD(1E                                                                        DOCKET 1'.1.:MBLR
                                                                                                                                                                                              j           15 2019
DATE                                                                        SJGNATLRE OF A IT
04/15/2019                                                                                                                                               Sara Anderson Frey, Esquire
FOR OFFICE t;SE ONLV

      RIC'FJPT     #                   AMOUNT                                    APPL YING IF P                                      Jl:DGE                                    MAG JUDGE
                              Case 5:19-cv-01631-EGS Document 1-1 Filed 04/15/19 Page 2 of 3
                                                             t:NITED STATES DISTRICT COURT
                                                         R THE EASTERN DISTRICT OF PENNSYLVA;'I.IA
                                                                                                                                                           1631
                                                                          DESIG:"IA TION .FORM
                                                o se plaint,jf to md1cate the category, of the case for the purpose of assignment to the appropriate calendar)

 Address of Plaintiff                                       3862 Jordan Road, Orefield, Pennsylvania 18069
 Address of Defendant.                      210 USA Cycling Point, Suite 100, Colorado Springs, Colorado 80919

 Place of Accident, Incident or Transaction: __________                                    ~e~i~h- ~OU~~~~n~~~va~a- __________ _


 RELATED CASE, IF ANY:

 Case ~umber·                                                    Judge ____ _                                              Date Termmated

 Civil cases are deemed related when Yes is answered to any of the followmg q

 I.     Is this case related to property mcluded man earlier numbered smt pendmg or withm one year                               YesD                 No~
        previously termmated action m this court?

2       Does this case mvolve the same issue of fact or grow out of the same transaction as a pnor smt                           YesD                 No~
        pendmg or w1thm one year previously termmated action m this court?

3       Does this case mvolve the validity or mfrmgement of a patent already m suit or any ear her                               YesD                 No~
        numbered case pendmg or w1thm one year prev10usly termmated action ofth1s court?

4      Is this case a second or successive habeas corpus, so           secunty appeal, or pro ~e c1v1l nghts                     YesD                 No~
       case filed by the same md1v1dual?

I certify that, to my knowledge, the w1thm case         O   is                       \d to any case now pendmg or w1thm one year prev10usly termmated action m
this court except as noted above

DATE
             04/15/2019                                                                                                                         82835
                                                                                                                                         Attorney ID   #   (if applicable)


CIVIL: (Place a~· in one category only)

A.             Federal Question Cases                                                            Diversity Jurisdiction Cases:

01             lndemmty Contract, Manne Contract, and All Other Contracts                              Insurance Contract and Other Contracts
0      2       FELA                                                                                    Airplane Personal !nJury

B!             Jones Act-Personal lnJUI)
               Antitrust
                                                                                                       Assault, Defamation
                                                                                                       Manne Personal lnJUI)

B
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       7
               Patent
               Labor-Management Relat10ns
               C1v1l Rights
                                                                                           0
                                                                                           0     7
                                                                                                       Motor Vehicle Personal lnJury
                                                                                                       Other Personal Injury (Please specify) _ _ _ _ _ _ _ _
                                                                                                       Products Liab1hty
0      8       Habeas Corpus                                                               0     8     Products L1ab1hty - Asbestos
                                                                                           0
B
0
  fo
        JI
               Secunt1es Act(s) Cases
               Social Secunty Review Cases
               All other Federal Question Cases
                                                                                                 9.    All other D1vers1ty Cases
                                                                                                       (Please specify) _ _ _ _ _ _ _ _ _ _ ... _ _ - _ _ ·-

               (Please specify) _ _ _ _ _ _ _ _ _ _ _



                                                                          ARBifRATION CERTU'ICATION
                                                 (The effect ofth1s certification ts to remove the case from eltg1b1ltty for arbttratton)

I,                   ara
                     _ _ Anderson
                          _ ___ _ _Frey
                                    __ _           _    __, counsel of record or pro se plaintiff, do hereby certify

                rsuant to Local Civil Rule 53 .2, § 3(c) (2), that to the best ofmy knowledge and behef, the damages recoverable m this c1v1l action case
              e ceed the sum of $150,000 00 exclusive of mtere~t and costs·

                    ehef other than monetary damages 1s sought                                                                                 APR 15 2019
DAff
             04/15/2019                                                                                                                         82835
                                                                                                                                        Attorney ID    #   hf applicable)

NOT'E A trial de no,o will be a tnal by Jttry only 1f there has been compltance With FR C

Cn, 609 (5, 10181
        Case 5:19-cv-01631-EGS Document 1-1 Filed 04/15/19 Page 3 of 3



           EGS                1
                         ll'i TIIE C~ITED STATES DISTRICT COURT
                        """
                      FOR THE EASTER""l DISTRICT OF PE"NNSYLVA.1"IA

                      CASE MA:\TAGEMENT TRACK DESIG:\TATION FORl\1

              ,MARTIN W NOTHSTEIN                                            CIVIL ACTION

                         V.

               USA CYCLING                                                   NO.
                                                                                 19
In accordance with the Civil Justice Ex nse an          elay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Managernen         c Designation Form in all civil cases at the time of
filing the cornplamt and serve a copy on all defendants. (See§ I :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Des1gnat1on Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWI~G CASE MANAGE:\1E~T TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 tlrrough § 2255.                           ( )

(b) Social Secunty - Cases requesting review of a decision of the Secretary of Health
    and Human Services denymg plamtiff Social Security Benefits.                                    ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )

(e) Special Management -- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases)                                                                               ( )

(f) Standard Management·- Cases that do not fall into any one of the other tracks.



 Apnl 15.2019                     Sara Anderson Frey                     USA Cycling
                                                                                                  C)
Date                                Attorney-at-law                      Attorney for
(215) 717-4009                    (215) 693-6650                         sfrey@grsrn corn


Telephone                            FAX Number                          E-Mail Address


(Civ. 660) 10/02




                                                                                            APR 15 2019
